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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                               Western District
                                             __________         of of
                                                         District  Wisconsin
                                                                      __________


                     Amy Childers, et al.,                     )
                             Plaintiff                         )
                                v.                             )      Case No.     20-CV-107
                      Menard Inc., et al.                      )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Menard, Inc.                                                                                                 .


Date:          03/19/2020                                                                /s/ Brian P. Norton
                                                                                         Attorney’s signature


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